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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 PADUCAH DIVISION
                              CASE NO.: 5:06-CR-00019-TBR

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.

STEVEN DALE GREEN                                                                   DEFENDANT

                                       OPINION AND ORDER

       This matter comes before the Court upon Defendant Steven Dale Green’s Motion to

Preserve Agents’ Notes (Docket #153). The Government has responded (Docket #165). This

matter is now ripe for adjudication.

       Defendant moves the Court to enter an order “to compel any and all governmental law

enforcement officials who aided in the investigation” of this case to preserve all their “rough

notes, memoranda, resumes, synopses, etc., which were taken as part of their investigation.”

Defendant argues that any rough notes produced by law enforcement officials in conjunction

with this case must be preserved because they are potentially discoverable under either the

Supreme Court’s decision in Brady v. Maryland, 373 U.S. 83 (1963), or under the Jencks Act, 18

U.S.C. § 3500 et seq. The Government responds that it is under no obligation to preserve notes

produced by government agents in the course of an investigation.

       The Brady doctrine and Jencks Act grant a criminal defendant access to certain evidence.

The Brady doctrine requires the prosecution to disclose all material exculpatory and

impeachment evidence to a defendant. Brady, 373 U.S. at 87; Jells v. Mitchell, 538 F.3d 478,

501-02 (6th Cir. 2008). The Jencks Act requires that, following the testimony of a government

witness, the defendant can request, and the court order, the government to provide certain

documents that relate to the subject matter of the government witness’ testimony. 18 U.S.C. §
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3500(a), (b).

       Interpreting the Brady doctrine, the Sixth Circuit has explained that “the Due Process

Clause does not impose ‘an undifferentiated and absolute duty to retain and to preserve all

material that might be of conceivable evidentiary significance in a particular prosecution.’ The

government's constitutional duty to preserve evidence is limited to evidence that possesses an

exculpatory value which was apparent before the evidence was destroyed.” 102 F.3d 214, 219

(6th Cir. 1996) (quoting Arizona v. Youngblood, 488 U.S. 51, 58 (1988)). Thus, the Government

is under no obligation to preserve all the rough notes of its agents, although it is under a duty to

preserve any rough notes that are known to exculpate Defendant.

       The Sixth Circuit has likewise held that the routine destruction of interview notes does

violate either the Brady doctrine or the Jencks Act. United States v. McCallie, 554 F.2d 770, 773

(6th Cir. 1977) (citing United States v. Hurst, 510 F.2d 1035, 1036 (6th Cir. 1975); United States

v. Lane, 479 F.2d 1134, 1135-36 (6th Cir.) cert. denied, 414 U.S. 861 (1973); United States v.

Fruchtman, 421 F.2d 1019, 1021-22 (6th Cir.), cert. denied, 400 U.S. 849(1970). Cf. United

States v. Lonardo, 350 F.2d 523 (6th Cir. 1965)). However, the fact that the routine destruction

of interview notes does not constitute a violation of either the Brady doctrine or the Jencks Act

does not preclude the Court from issuing an order prohibiting the routine destruction of notes

from this point forward.

       In support of his motion, Defendant cites case law from other Circuit Courts holding that

the government must preserve the rough notes and draft reports of its agents. See United States

v. Harrison, 524 F.2d 421 (D.C. Cir. 1975); United States v. Harris, 543 F.2d 1247 (9th Cir.

1976); United States v. Ammar, 714 F.2d 238 (3d Cir. 1983). The Government responds that

these cases are inapposite to the law of the Sixth Circuit. In concluding so, the Government
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points to the Sixth Circuit’s decision in United States v. McCallie, wherein the court explained:

       We, of course, note that two Circuits have now held that destruction of FBI

       interview notes is a violation of the Jencks Act or the Brady, supra, doctrine. We

       do not, however, feel that this case is a suitable vehicle to review this Circuit's

       settled case law on this subject. This record shows neither arguable prejudice nor

       any demand for the notes by appellant's trial counsel.

554 F.2d at 773 (citing Harrison, 524 F.2d 421 (1975); Harris, 543 F.2d 1247 (9th Cir. 1976)).

The holding in McCallie does not prevent the Court from issuing an order prohibiting the future

destruction of interview notes.

       The Government does not argue that preserving the rough notes produced by its agents

would be administratively burdensome or prejudicial in any way. Given the circumstances of

this case, and out of an abundance of caution, the Court finds no reason why it should not grant

Defendant’s motion. In doing so, the Court expresses no opinion as to whether or not the Brady

doctrine or Jencks Act compel the government to preserve the rough notes of its agents.

       For the foregoing reasons, IT IS HEREBY ORDERED that the Government direct all

law enforcement and investigative officials involved in this case to preserve their investigative

materials, including their rough notes, currently in existence and in the future.




                                                                                    December 18, 2008
